            Case 3:05-cr-00491-CRB          Document 185        Filed 02/07/06     Page 1 of 2



1    ANTHONY W. GIBBS, ESQ. – SB#047880
     LAW OFFICES OF ANTHONY W. GIBBS
2    655 Middlefield Road
     Redwood City, CA 94063
3    Tel: 650-367-7500
     Fax: 650-367-1700
4
5    Attorney for Defendant
     OLEG GLADSHTEYN
6
7
8                                 UNITED STATES DISTRICT COURT
9                              NORTHERN DISTRICT OF CALIFORNIA
10                                    SAN FRANCISCO DIVISION
11   UNITED STATES OF AMERICA,           )                No.: CR 05 00491 VRW
                                         )
12         Plaintiff,                    )                ORDER ALLOWING TRAVEL
                                         )
13         v.                            )
                                         )
14   OLEG GLADSHTEYN,                    )
                                         )
15         Defendant.                    )
     ____________________________________)
16
17      Defendant Oleg Gladshteyn requests an Order from this Court for him to travel via United
18   Airlines on February 17, 2006 to go to Indianapolis, Indiana and return to San Francisco on
19   February 20, 2006.
20      Pretrial Services has indicated to the defendant Mr. Gladshteyn that they have no objection to
21   this travel subject to the Court’s approval. Also the Assistant United States Attorney, Laurel
22   Beeler, has no objection to Mr. Gladshteyn traveling to Indiana.
23      STIPULATED:
24
25                 /s
        LAUREL BEELER
26      Assistant United States Attorney
27                /s
        ANTHONY GIBBS
28      Attorney for Oleg Gladshteyn


     ORDER (CR 05 00491 VRW)
            Case 3:05-cr-00491-CRB           Document 185            Filed 02/07/06           Page 2 of 2



1       Oleg Gladshteyn may travel out of the City and County of San Francisco to
2    Indianapolis, Indiana from February 17, 2006 through February 20, 2006. He shall provide a
3    copy of his itinerary to Pretrial Services before he travels.          ISTRIC
                                                                       TES D      TC
4                                                                    TA




                                                                                          O
                                                                 S




                                                                                           U
                                                                ED




                                                                                            RT
     IT IS SO ORDERED.                                                            ERED
                                                                            O ORD




                                                            UNIT
5
                                                                     IT IS S




                                                                                               R NIA
6
                                                                                    Walker




                                                            NO
            February 7, 2006                                               aughn R
7    DATED:________________                                         Judge V
                                                    ___________________________




                                                                                              FO
                                                             RT
                                                    VAUGHN R. WALKER




                                                                                              LI
                                                    United StatesE RDistrict Judge C




                                                                H
8




                                                                                          A
                                                                      N                   F
                                                                          D IS T IC T O
9                                                                               R

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


     ORDER (CR 05 00491 VRW)                           2
